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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

v.                                                       CRIMINAL NO. 3:18cr165-CWR-FKB

JESSIE BULLOCK


    MR. BULLOCK’S RESPONSE TO COURT’S ORDER INQUIRING ABOUT THE USE
                   OF HISTORIANS IN OTHER BRUEN1 CASES

          The defense submits the following response to the Court’s order inquiring about the use of

historians in other Bruen cases:

          On February 8, 2023, the Fifth Circuit heard argument in the case of United States v.

Quiroz, Appeal No. 22-50834. That appeal arises from a district court decision that 18 U.S.C. §

922(n) is unconstitutional. See United States v. Quiroz, Case No. PE:22-cr-104-DC, 2022 WL

4352482 (W.D. Tex. Sept. 19, 2022). The panel hearing the case raised the same questions this

Court has raised in the instant case. The Quiroz panel questioned the Government about the

necessity of developing the historical record and the risk of receiving “cherry-picked” historical

analogues. See Quiroz Oral Argument, https://www.ca5.uscourts.gov/OralArgRecordings/22/22-

50834_2-8-2023.mp3 (last visited on April 28, 2023) (beginning around 6:07 and continuing

through approximately 12:20).

          Following oral argument, the Fifth Circuit requested supplemental briefing from the United

States Solicitor General that would augment the record on historical analogues for § 922(n) and

address whether the application of historical analogues constitutes a question of law, a question of



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    N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022).
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fact, or a mixed question of law and fact. See United States v. Quiroz, Appeal No. 22-50834 at

ECF No. 69. That supplemental briefing is still in progress, with the defendant’s response due May

1, 2023. See Quiroz, Appeal No. 22-50834 at ECF No. 86.

       Although Quiroz is not a § 922(g)(1) case, the defense brings the case to the Court’s

attention because it is clear from the oral argument recording that the Fifth Circuit is wrestling

with the same concerns.

       Respectfully submitted this the 1st day of May, 2023.

                                     JESSIE BULLOCK, DEFENDANT

                                     By:     /s/Michael L. Scott
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                                   CERTIFICATE OF SERVICE

      I, Michael L. Scott, do hereby certify that on the 1st day of May, 2023, I electronically filed

the foregoing with the Clerk of the Court using the ECF system which sent notification of such

filing to all parties of record.



                                                       /s/Michael L. Scott
                                                      Michael L. Scott
                                                      Senior Litigator




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